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                                                                  UNITED STATES DISTRICT COURT
                                                                 CENTRAL DISTRICT OF CALIFORNIA

    [JNITED STATES OF AMERICA,                                                        I    K'~tem Division
                                                                           Plaintiff; ~
                                               vs.                                    ~    Case Number: 2:2]-MJ-03396               Out of District Affidavit
                                                                                      ~    Initial App. Date: 07/20/2021            Custody
    Roman Nikoehosvan                                                                 ~    Initial App. Time: 1:00 PM




                                                                        Defendant. ~ Date Filed: 07/20/2021
                                                                                   ~ Violation: 18:1951                                       ~_ _ ^

                                                                                      ~~   CourtSmart/ Reporter:                                wiSrl
            PROCEEDINGS HELD BEFORE UNITED STATES                                     ~                      CALENDAR/PROCEEDINGS SHEET
               MAGISTRATE NDGE:Patricia Dons6ue                                       ~                       LOCAL/OUT-OF-DISTRICT CASE



            PRESENT:                         Martinez,Isabel
                                                                                                               rS~                                                         '~
                                     Deputy Clerk            ~   Assistant U.S. Attorney                                            erpreter/Language
                          PTITIAL APPEARANCE NOT HELD -CONTINUED
                     ~ Court issues Order under Fed. R. Crim. P. 5(~ concerning prosecutor's disclosure obligations; see General Order 21-02(written
                      order).
                     ~ Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
                        ❑ preliminary hearing OR ❑removal hearing /Rule 20.
                     ❑ Defendant states true name ❑ is as charged ❑ is
                       Court ORDERS the caption of the IndictmenUInformation be changed to reflect defendants different true name. Counsel aze directed
                       to file all future documents reflecting the true name as stated on the record.
                     ❑ Defendant advised of consequences offalse statement in financial affidavit. ❑Financial Affidavit ordered SEALED.
                     ~ Attorney: Michael Driscoll, DFPD ❑Appointed ❑ Prev. Appointed ❑ Poss. Contribution(see sepazate order)
                                e.2;ia1 ap
             ~              u ~~^~ sr     st  d iti      ❑GRANTED ❑DENIED ❑WITHDRAWN ❑CONTINUED
       ~             ❑Defendant is ordered: ❑Permanently Detained ❑Temporarily Detained (see sepazate order).
                     ~ BAIL FIXED AT $                              (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
                     ❑ Government moves to UNSEAL Complaint/Indictrnent/Information/Entire Case: ❑GRANTED ❑DENIED
                       Preliminary Hearing waived.
                     ❑ Class B Misdemeanor ❑Defendant is advised of maximum penalties
                     ~ This case is assigned to Magistrate Judge                                     .Counsel aze directed to contact the clerk for
                       the setting of all further proceedings.
                     ❑ PO/PSA WARRANT ❑Counsel are directed to contact the clerk for
                       District Judge                                                 for the setting of further proceedings.
                     ~ Preliminary Hearing set for                        at 4:30 PM
                     ~ PIA set for:                                     at 11:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
                     ❑ Governments motion to dismiss case/defendant                                                   only: ❑GRANTED ❑DENIED
                     ❑ Defendants motion to dismiss for lack of probable cause: ❑GRANTED ❑DENIED
                     ❑ Defendant executed Waiver of Rights. ❑Process received.
                     ~ Court ORDERS defendant Held to Answer to                                 District of
                        ❑ Bond to transfer, if bail is posted. Defendant to report on or before
                          ❑ Warrant of removal and final commitment to issue. Date issued:                                    By CRD:
                          ❑     want of removal and fin        ommitment are orde ed stayed unril
                          ase continued to(Date)                      ~k I             (Time                           ~         / M
                         Type of Hearing:                                  Before J d                                       /Dut .
                                                                                                                                 Magistrate Judge.
                         Proceedings will be held in the       Duty Courtroom                              ❑Judge's Courtroom
                     ❑ Defendant committed to the custody ofthe U.S. Mazshal ❑Summons: Defendant ordered to report to USM for processing.
                     ~ Abstract of Court Proceeding(CR-53)issued. Copy forwarded to USM.
                     ~ Abstract o Order to Return Defendant to Court on Next Court Day( -20) iss, d. Ongmal forwarded to USM.
                     ~         EAS            ER O:                                        ~~                      ~            ~~ ~ ~ ^                           r.
                           ther:                                                                                                                     «'
                                   PSA ❑ USPO ❑FINANCIAL                            ❑ CR-10 ❑ CR-29                        ❑READY
                                                                                                                             Deputy Clerk Initials

r
       _     _                                                                                                                                   ~                  _ ........
                 M-5 (10/13)                               CALENDAR/PROCEEDING SKEET -LOCAL/OUT-OF-DISTRICT CASE                                     Page 1 of 1




http://156.131.20.221/cacd/CrimIntakeCal.NSF/1222c8c990b1f46c882571 d2006f1655?Op... 7/20/2021
